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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                    )
                                             )
                        Plaintiff,           )
                                             )
v.                                           )       No. 10-10089-01-WEB
                                             )
JAMES BOBBY BUTLER, JR.,                     )
                                             )
                        Defendant.           )
                                             )


                                     Memorandum and Order

       This matter came before the court on June 21, 2011, for a hearing on defendant James

Butler’s objections to the Presentence Report and for sentencing. The court ruled orally on these

matters at the June 21 sentencing hearing. This written memorandum will supplement the

court’s oral rulings.

       Background. The defendant James Bobby Butler and his brother, Marlin Jackson Butler,

were charged in a 23-count Indictment with offenses arising from their operation of “Camp Lone

Star,” a hunting club located in Comanche County, Kansas. On March 16, 2011, James Butler

entered a plea of guilty to three counts: Count 1, charging a conspiracy to violate the Lacey Act

[16 U.S.C. § 3371 et seq.] by engaging in conduct involving the sale and purchase of wildlife,

namely white-tailed and mule deer, with a market value in excess of $350, by knowingly selling

and transporting said wildlife in interstate commerce, knowing the wildlife to have been taken

and possessed in violation of the laws and regulations of the State of Kansas; Count 8, charging a

substantive violation of the Lacey Act in November of 2005, relating to the sale of guiding

services and a hunting permit to “BS,” knowing that this individual killed two white-tailed deer
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with a permit valid for another county, the second of which was also in excess of his bag limit,

and transporting the antlers from Kansas to Texas for taxidermy; and Count 21, charging

obstruction of justice, arising from the defendant’s attempt to conceal evidence – namely six

mounted deer heads with antlers – to impair its availability for use in an official proceeding.

       The sentencing was initially scheduled for June 2, 2011, but on May 20, 2001, the court

granted a defense request for continuance. The court extended the time to file objections to June

11 and set the sentencing for June 21, 2011. On May 26, 2011, the court scheduled an

evidentiary hearing relating to the sentencing of both defendants, anticipating that the same

evidence would likely be relevant to both sentencing hearings. Counsel were directed to notify

the court if no evidentiary hearing was required in connection with sentencing. On June 2, 2011,

the court denied an additional motion to continue the evidentiary hearing and the sentencing.

       On June 15, 2011, the court was notified by counsel for all parties that no evidentiary

hearing was required. Accordingly, the court cancelled the hearing. Also on June 15, the parties

formally filed their objections and responses to the Presentence Report, which had previously

been submitted to the Probation Office. The defendant’s filing includes approximately 32

objections to the Presentence Report. In connection with the objections, defense counsel e-

mailed to the court various written materials, including an affidavit from defendant James Butler

and one from co-defendant Marlin Butler. The Government attached various materials to its

response, including agent reports recounting interviews with a number of individuals involved in

the activities at Camp Lone Star. On June 20, 2011, the day prior to sentencing, defendant filed

a Sentencing Memorandum, which expanded on certain of the objections, as well as arguing that

a sentence of probation was warranted on the factors of 18 U.S.C. § 3553(a). The Government


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filed its own Sentencing Memorandum the day of sentencing, which, in accordance with its

obligation under the plea agreement, recommended a sentence of 41 months’ imprisonment.

       Guideline Calculation and Objections.

       The Presentence Report found a base offense level of 6 under USSG 2Q2.1(a). Two

points were added for an offense committed for pecuniary gain. USSG 2Q2.1(b)(1)(A). The

Report added 8 levels pursuant to 2Q2.1(b)(3)(A)(ii), based on a finding that the market value of

the wildlife involved in the offense was $120,000. A 4-level enhancement was added under

3B1.1 for being a leader or organizer of an offense involving at least five individuals. Finally, 2-

levels were added for obstruction of justice under 3C1.1. A three-level reduction was granted

for acceptance of responsibility, resulting in a total offense level of 19. The defendant was found

to be in Criminal History Category II, resulting in an advisory sentencing range of 33-41 months

imprisonment.

       A. Procedural objection. The defense memorandum filed June 20 argued that the

Government failed to satisfy its burden of proof with respect to the value and number of the deer

involved by “simply providing the court with reports of investigation that the probation officer

used to write the PSR....” Doc. 99 at 11. The defendant equates this with “simply adopting the

presentence report” and asserted “there is not an evidentiary basis for finding James accountable

for all the deer identified in the PSR.” Id. Defense counsel raised the matter at the outset of the

sentencing hearing, apparently objecting to the court’s consideration of the agents’ reports. To

the extent the defense was simply asserting that witness statements in the reports should be

rejected as unreliable, the court concludes, as set forth below, that the reports are sufficiently

reliable to support the allegations in the Presentence Report. To the extent the defense objects to


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the court’s authority to even consider and evaluate the reliability of the reports for purposes of

sentencing, the court concludes that the defense has waived any such objection. The court

afforded both parties an opportunity for an evidentiary hearing, but both parties informed the

court that a hearing was not needed, and it is clear that the parties agreed that the court could

make any factual determinations from the written materials provided. This is confirmed by the

understanding between counsel concerning the presentation of materials to the court and the

defendant’s memorandum filed June 15, which noted that “Both parties are submitting affidavits,

excerpts of Reports of Investigation and stipulations from which the Court must resolve the

factual disputes.” Doc. 94 at 1.

       B. Defendant’s involvement. The law is well established that a sentencing court may

consider information that would be inadmissible at a criminal trial, including reliable hearsay.1

The Government has provided numerous agent reports containing summaries of interviews of

individuals involved in illegal hunting at Camp Lone Star. Those reports were provided to the

defense and the defense was aware that the Government would rely upon them at sentencing.

The court concludes that the statements of these individuals – and particularly their descriptions

of the defendant’s extensive involvement in and encouragement of illegal hunting at Camp Lone

Star – are sufficiently reliable to support their probable accuracy. The court notes that most if

not all of these statements were made against the penal interest of the persons involved, which

provides some indicia of reliability. Moreover, the statements tend to be consistent with each

other insofar as the defendant’s knowledge and involvement are concerned, and they are


       1
         See e.g., USSG 6A1.2 (“the court may consider relevant information without regard to
its admissibility under the rules of evidence applicable at trial, provided that the information has
sufficient indicia of reliability to support its probable accuracy.”).

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supported and corroborated by both circumstantial and physical evidence. By contrast, the

defendant’s affidavit, in the court’s view, essentially denies that he entered into any conspiracy,

and it appears to contradict allegations in Count 1 as to the manner and means of the conspiracy

and the overt acts in furtherance thereof. Among other things, the defendant says “[h]unters

were expected to engage in lawful hunting practices” at the Camp and that he did not condone

hunting with a rifle out of season or hunting with a spotlight. He says violations of regulations

“occasionally” occurred, and admits that he was involved in some tag violations, but “the others

I learned about after the fact or through information I received from my attorney after this

Indictment was returned. As these violations seemed to be the exception to the norm, neither I

nor the other property owners took any significant steps to prevent those violations from

occurring in the future.” Defendant has provided an affidavit from his brother stating in part that

“James has always supported full compliance with hunting regulations.” The court finds the

defendant’s statements asserting limited knowledge of the illegal hunting going on at Camp Lone

Star during the period of the conspiracy are not credible. The statements of hunters who

interacted with the defendant show that he was in charge of hunting operations at the camp, that

he not only gave permission but encouraged the illegal taking of deer by hunters in order to

make more money, and that he instructed others on steps to take to keep law enforcement

officers from discovering the illegal activities. The statements show that James and Marlin

Butler worked together for their mutual benefit to profit from allowing a continuing pattern of

unlawful hunting, and that they jointly undertook the criminal activity alleged in the PSR.

Moreover, the acts of James and Marlin Butler alleged in the PSR were in furtherance of that

joint activity and were reasonably forseeable to the defendant. With respect to credibility, the


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court also notes that the defendant has a prior federal felony conviction, and that he obstructed

justice in the instant case by attempting to get others to dispose of evidence after he learned law

enforcement officers were investigating the illegal activities. In sum, the court finds that the

defendant’s statement to the court denying involvement or responsibility is not credible, that the

offense conduct and the relevant conduct detailed in the PSR is more likely true than not true,

and that the defendant is responsible for that conduct under the guidelines.

       C. Value of the Deer. The defendant objects to the PSR’s calculation of the market

value of the deer involved in the offense, particularly with respect to the report’s use of the

hunting or guiding fees charged by the defendants as a measure of market value. Although there

is little authority on the question, the court agrees with United States v. Atkinson, 966 F.2d 1270

(9th Cir. 1992) that the amount a hunter is willing to pay for the opportunity to hunt may be

considered as evidence of the market value of the wildlife. See Doc. 66 at 6. As the guidelines

note, when a fair market retail price is difficult to ascertain, the court may make a reasonable

estimate using any reliable information, including “the acquisition and preservation (e.g,

taxidermy) cost.” In this instance, where there is no ready market value and out-of-the-ordinary

“trophy” animals are involved, the court concludes that the amount paid by hunters for guided

hunts represents the most reasonable estimate of fair market value of the wildlife. The

Presentence Report notes that this total sum comes to $120,000 for the 35 deer for which

defendant is accountable under the guidelines. Even if a substantial reduction is made to reflect

meals or other services provided by the defendants, the remaining value is well over the $70,000

value that gives rise to the same 8-level enhancement under the guidelines. The court therefore

concludes that the calculation in the Presentence Report is correct.


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       Section 3553(a).

       The defendant has provided an extensive memorandum to the court which argues, among

other things, that the offenses do not merit prison time, that the defendant has been a good father

to his daughter, and that he has extensive community support. It asks for a sentence of

probation, which would allow the defendant to continue working at his present job. The

Government, pursuant to the plea agreement, recommends a sentence of 41 months’

imprisonment, 3 years’ supervised release, a $25,000 fine, $25,000 in restitution, and a $300

special assessment.

       The sentencing court must first calculate the Guideline range, and then consider what

sentence is appropriate for the individual defendant in light of the statutory sentencing factors in

section 3553(a), explaining any variance from the Guideline range by referencing the statutory

factors. Nelson v. United States, 129 S.Ct. 890 (2009). Section 3553(a) essentially provides

that the court shall impose a sentence sufficient, but not greater than necessary, to comply with

the following purposes: -the need for the sentence imposed – (A) to reflect the seriousness of the

offense, to promote respect for the law, and to provide just punishment for the offense; (B) to

afford adequate deterrence to criminal conduct; (C) to protect the public from further crimes of

the defendant; and (D) to provide the defendant with needed educational or vocational training,

medical care, or other correctional treatment in the most effective manner. In so doing, the court

must consider (1) the nature and circumstances of the offense and the history and characteristics

of the defendant; (2) the purposes of sentencing set forth above; (3) the kinds of sentences

available; (4) the kinds of sentence and the sentencing range established for the offense under the

applicable sentencing guidelines; (5) policy statements of the Sentencing Commission; (6) the


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need to avoid unwarranted sentence disparities among defendants with similar records who have

been found guilty of similar conduct; and (7) the need to provide restitution to any victims of the

offense.

       Based on the factors in Section 3553, the court concludes that a sentence of 41-months, at

the high end of the guideline range, is sufficient but not greater than necessary to meet the

purposes of sentencing. The court concludes that such a sentence is necessary to reflect the

seriousness of the offenses, to provide adequate deterrence, and to protect the public from further

crimes of the defendant. The court notes that the defendant has a prior felony conviction in

federal court for money laundering in connection with a substantial drug operation. He was

sentenced to 41 months in prison in that case. Despite this, the defendant has again chosen to

engage in criminal activity on a substantial scale, and the evidence shows that he was the leader

of the illegal activities at Camp Lone Star. It is also undisputed that he obstructed justice in an

attempt to avoid responsibility for the offense, and – in the court's view – he is still attempting to

avoid full responsibility. The court finds that restitution in the amount of $25,000 to the Kansas

Department of Wildlife and Parks is fair and reasonable given the impact of the offenses on the

state’s resources. The court further finds that a special condition of supervision prohibiting the

defendant during the period of supervision from hunting, trapping, or fishing, or accompanying

others engaging in such activities, is necessary in view of the defendant’s demonstrated history

of violating regulations and laws governing activities of this type. Finally, the court directs that

the $25,000 fine be directed to the Lacey Act Reward Fund, in accordance with the unopposed

request of the Government for such disposition of the fine.




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       Conclusion.

       The defendant’s objections to the Presentence Report are DENIED. The court

determines that a sentence of 41 months custody, together with the other terms and conditions

stated at the sentencing hearing, is the appropriate sentence in this case under 18 U.S.C. §

3553(a).

       The Probation Officer in charge of this case shall see that a copy of this order is

appended to any copy of the Presentence Report made available to the Bureau of Prisons. IT IS

SO ORDERED this        23rd    Day of June, 2011, at Wichita, Ks.


                                              s/Wesley E. Brown
                                              Wesley E. Brown
                                              U.S. Senior District Judge




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